Case 3:17-cv-00072-NKM-JCH Document 245 Filed 02/27/18 Page 1 of 2 Pageid#: 1552

                                                                                       02/27/2018

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES, et al.,                    )
       Plaintiff,                             )       Civil Action No. 3:17cv00072
                                              )
  v.                                          )       ORDER
                                              )
  JASON KESSLER, et al.,                      )       By:    Joel C. Hoppe
       Defendants.                            )       United States Magistrate Judge

         This matter is before the Court on two motions submitted anonymously by Movant “Non-

  party John Doe,” who seeks to appear pro se to oppose “third party subpoenas seeking

  production of Movant’s identifying and personal information believed to have been served in

  connection with this case.” Mot. for Leave to Proceed Anonymously, ECF No. 241; see Mot. to

  Quash, ECF No. 242. The motions and supporting documents are all signed, “/s/ John Doe, Pro

  Se,” and Movant has not provided this Court with any information from which it could determine

  that Movant is who he purports to be. ECF Nos. 241, 242, 243, 244; see Fed. R. Civ. P. 11(a).

         In the first motion, which was improperly submitted “ex parte,” the pro se non-party

  Movant seeks leave to litigate under a pseudonym in order to protect “its First Amendment

  privilege to engage in anonymous speech and political association.” ECF No. 241, at 1. “Federal

  courts traditionally have recognized that in some cases the general presumption of open trials—

  including identification of parties and witnesses by their real names—should yield in deference

  to sufficiently pressing needs for party or witness anonymity.” James v. Jacobson, 6 F.3d 233,

  242 (4th Cir. 1993). “While a party who wishes to proceed anonymously may overcome this

  presumption by filing a well-reasoned motion to proceed anonymously, ‘it is the exceptional case

  in which a party may proceed under a fictitious name.’” K-Beech, Inc. v. Does 1–29, 826 F.

  Supp. 2d 903, 905 (W.D.N.C. 2011) (quoting Doe v. Frank, 951 F.2d 320, 322 (11th Cir. 1992)



                                                  1
Case 3:17-cv-00072-NKM-JCH Document 245 Filed 02/27/18 Page 2 of 2 Pageid#: 1553




  (alterations omitted)). The Court will not reach the merits of the pro se Movant’s request to

  proceed anonymously or to quash the subpoenas, however, because the pro se Movant’s

  submissions fail to meet a threshold requirement for filing. The pro se Movant seeks not merely

  to proceed anonymously, but to submit filings and litigate anonymously. Allowing even a third-

  party to proceed in that fashion would create numerous practical problems and undermine the

  Court’s inherent authority over litigants who appear before it. Cf. K-Beech, Inc., 826 F. Supp. 2d

  at 905–06 (striking a pro se “John Doe” defendant’s motion to dismiss as improperly filed under

  Rule 11(a) of the Federal Rules of Procedure).

          Accordingly, the Clerk is directed to STRIKE the anonymous pro se Movant’s motions,

  ECF Nos. 241, 242, and supporting documents, ECF Nos. 243, 244, as improperly filed. The pro

  se Movant’s additional request for “anonymous ECF credentials” is hereby DENIED because

  this Court’s local rules and administrative procedures do not authorize participants to

  electronically file documents under a pseudonym. See W.D. Va. Gen. R. 7(a)–(d); Administrative

  Procedures for Filing, Signing & Verifying Pleadings & Papers by Electronic Means § C(5)

  (W.D. Va. 2015).

          It is so ORDERED.

          The Clerk shall send a copy of this Order to the anonymous pro se non-party Movant and

  to the parties.

                                               ENTER: February 27, 2018



                                               Joel C. Hoppe
                                               United States Magistrate Judge




                                                   2
